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                 TEXAS COURT OF CRIMINAL APPEALS


               IN RE GONZALO ROBLES CESENA, RELATOR


             On Mandamus from the Carrollton Municipal Court
                     Carrollton, Texas, Dallas County
                 Trial Court Case Nos. 00475441, 00475442


                MOTION FOR LEAVE OF COURT TO FILE

PETITION FOR WRIT OF MANDAMUS, WRIT OF PROHIBITION, AND
             REQUEST FOR EMERGENCY RELIEF




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To the Honorable Justice of the Texas Court of Criminal Appeals:

      Relator Gonzalo Robles Cesna files this motion for leave of court to grant him

leave to file this petition for writ of mandamus and prohibition:

      1.       This motion is filed under Tex. Rule App. Procedure. 72.1 (2018),

which requires a motion for leave filed with a petition for writ of mandamus and

prohibition.

      2.       Attached is the petition for writ of mandamus and writ of prohibition,

which is incorporated into this motion by reference as though recited verbatim.

      3.       The Respondent judge in the City of Carrollton Municipal Court has

allowed, and continues to allow, the State of Texas to violate Relator’s and other

defendants’ right to electronically duplicate the State’s video discovery files in

violation of Article 39.14 of the Texas Code of Criminal Procedure, also known as

“The Michael Morton Act.”

      4.       Instead of requiring the State to permit the electronic duplication of the

State’s files, as Michael Morton demands, the Respondent allows the State to force

criminal defense attorneys to set an appointment to view the video in the presence

of the State. Defense lawyers have the only option of using their smartphone or

another recording device to record a computer monitor or projector screen in open

court, to make a video of the State’s video.




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      5.     Making a video of a video is not the same thing as obtaining an

electronic duplicate of the video. A duplicate is a replica which would contain the

Metadata from the State’s videos files, which are downloaded from the law

enforcement officers’ recording devices.

      6.     Defense Counsel has offered to provide the State with media devices so

the State does not bear the expense, but the State believes that any such device could

potentially compromise their computer network. Defense counsel then offered to

provide brand new media devices in unopened packaging. The State did not respond

to the request and continues in their refusal.

      7.     After being invited to by the State, Relator sought court intervention,

but Respondent agrees with the State in that it does not need to provide electronic

duplicates of the State’s discovery files, but rather, that the defense should

accommodate the State and make a recording of their recordings. This was a clear

abuse of discretion and/or violation of a duty by law for which Relator has no clear

and adequate remedy at law.

      8.     After the enactment of Michael Morton, an “open file” policy was

essentially created which allows defense attorneys to inspect and photograph and

make electronic duplicates of the State’s discovery files. See Tex. Code Crim. Pro.

Art. 39.14(a) (2018). The legislature did not afford any discretion to the State or trial

courts to pick and choose which provisions of Michael Morton to comply with.


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      9.     The State made it clear that their policy is to not allow any electronic

duplication of their video files. This creates of host of issues. This policy prevents

Metadata from the video files from being obtained and prevents defense attorneys

from being able to review the discovery with their clients in order to properly counsel

them and/or develop trial strategy.

      10.    This has been the policy in the City of Carrollton Municipal Court for

years, and consequently, the rights of countless defendants have been and will

continue to be violated because of the State’s refusal and the Respondent’s

countenance of the State’s refusal to follow Michael Morton’s electronic duplication

mandate.

      11.    This Court has authority to issue writs of mandamus in criminal-law

matters under Tex. Const Art. 5 § 5 and Tex. Code Crim. Proc. Art. 4.04 § 1 (2018).

The authority of this Court to issue writs of mandamus extends to all criminal law

matters and is not restricted solely to orders necessary to protect this Court’s

jurisdiction or to enforce its judgments. Durrough v. State, 620 S.W.2d 134, 144

(Tex. Crim. App. 1981).

      12.    However, a court of appeals may not entertain a mandamus from a

municipal court. Under Tex. Const. Art. 5 § 6, the court of appeals have the power

to issue a writ of mandamus to enforce its jurisdiction. See Abdnor v. Ovard, 635

S.W. 2d 864, 867 (Tex. App. Dallas 1982), affirmed, 653 S.W.2d 793 (Tex. Crim.


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App. 1983). Powell v. Hocker, 516 S.W.3d 488, 2017 Tex Crim. App. LEXIS 374

(Tex. Crim. App. 2017). As this Court recently held in Powell, Tex. Const. Art. 5 §

6(a) defines the appellate jurisdiction of the courts of appeals, including “…other

jurisdiction, original and appellate, as may be prescribed by law.” Powell, id. at *4.

The Texas Constitution leaves it to the Legislature to “prescribe” the original

jurisdiction of the courts of appeals, including jurisdiction over mandamus matters.

Id.

      13.    Tex. Gov. Code § 22.221(b) (2017) reflects the Legislature’s granting

of original jurisdiction to the courts of appeals in mandamus matters: “Each court of

appeals for a court of appeals district may issue all writs of mandamus, agreeable to

the principles of law regulating those writs, against a: (1) judge of a district or county

court in the court of appeals district; or (2) judge of a district court who is acting as

a magistrate at a court of inquiry under Chapter 52, Code of Criminal Procedure, in

the court of appeals district. However, courts of appeal have no mandamus authority

over lower courts other than district or county courts. See Powell (Courts of appeal

have no mandamus authority against county courts at law) and State ex rel. Holmes

v. Salinas, 774 S.W.2d 421, 422-423 (Tex. App. Houston [14th Dist.] 1989, orig.

proceeding) (Court of appeals does not have jurisdiction under Tex. Gov. Code §

22.221(b) to issue mandamus against magistrate even though the person acting as a

magistrate was a district judge).


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      14.    Thus, Relator cannot first present this petition to the court of appeals as

required by this Court under Padilla v. McDaniel, 122 S.W.3d 805, 808 (Tex. Crim.

App. 2003) (en banc) (When a court of appeals and the TCCA have concurrent,

original jurisdiction of a petition for a writ of mandamus against the judge of a

district or county court, the petition should be presented first to the court of appeals

unless there is a compelling reason not to do so.)

                                            Prayer

      As detailed in the attached petition, Relator asks this Court to grant leave,

grant Relator’s petition, and make it clear to the City of Carrollton Municipal Court

and the City of Carrollton City Attorney’s Office that it must follow Michael Morton

and that the State cannot maintain a policy that prevents defense counsels from

obtaining electronic duplicates of their client’s files. In addition to violating Michael

Morton by preventing the electronic duplication of video files, the State is causing

an undue burden on defense counsels and significantly impeding the fair

administration of justice.




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                                             Respectfully submitted,

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                         CERTIFICATE OF SERVICE

I, the undersigned attorney, certify that on April 23, 2018, a copy of this document
and all attachments thereto, were served upon:

Respondent: The Honorable Judge Meredith Lyon, Presiding Judge of Carrollton
Municipal Court, 2001 E. Jackson Road, Carrollton, Texas 75006 via first class mail
and to: legaldocuments@cityofcarrollton.com via Texas E-Service.

Real Party in Interest: City of Carrollton, City Attorney, Meredith Ladd, 2001 E.
Jackson Road, Carrollton, Texas 75006 via first class mail and via e-mail to:
Meredith.Ladd@cityofcarrollton.com via Texas E-Service.

Mary Scanlon, Assistant City Attorney for the City of Carrollton, e-mail to:
Mary.Scanlon@cityofcarrollton.com via Texas E-Service.

Susan Keller, Assistant City Attorney for the City of Carrollton, e-mail to:
Susan.Keller@cityofcarrollton.com via Texas E-Service.

                                                    /s/ Stephen Le Brocq
                                                    Stephen Le Brocq




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              TEXAS COURT OF CRIMINAL APPEALS


               IN RE GONZALO ROBLES CESENA, RELATOR


             On Mandamus from the Carrollton Municipal Court
                     Carrollton, Texas, Dallas County
                 Trial Court Case Nos. 00475441, 00475442


PETITION FOR WRIT OF MANDAMUS, WRIT OF PROHIBITION, AND
             REQUEST FOR EMERGENCY RELIEF




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        IDENTITY OF PARTIES, COUNSEL, AND JUDGE

RELATOR:                                 Gonzalo Robles Cesena

DEFENSE COUNSEL AT TRIAL
AND COUNSEL FOR RELATOR ON
MANDAMUS:                                Stephen Le Brocq
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ATTORNEYS FOR                            Meredith Lad, City Attorney
STATE OF TEXAS                           Susan Keller, Assistant City Attorney
                                         Mary Scanlon, Assistant City Attorney

                                         2001 East Jackson Road
                                         Carrollton, Texas 75006


RESPONDENT
APPOINTED PRESIDING JUDGE                The Honorable Meredith Lyon
OF THE CITY OF CARRROLLTON               City of Carrollton Municipal Court
MUNICIPAL COURT                          2001 East Jackson Road
                                         Carrollton, Texas 75006




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      Extraordinary Relief (App.001-26)

   • Certified Copy of Order on Defendant’s Motion to Compel Discovery & For

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   • Certified Copy of Relator’s Request for Findings of Fact and Conclusions of

      Law (App.0028)

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      0029-31)

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                                INTRODUCTION

      This petition for writ of mandamus asks this Honorable Court to issue writs

of mandamus and prohibition, and requests emergency relief against The Honorable

Judge Meredith Lyon, Respondent, presiding judge of the City of Carrollton

Municipal Court, over discovery issues surrounding Relator’s two pending traffic

citations. Respondent is allowing the State to violate criminal defendants’ right to

electronic duplicates of their discovery as provided by law. Emergency relief has

been requested. Relator seeks a stay of his current cases in the Carrollton Municipal

Court pending resolution of Relator’s petition.

      As done on a daily basis by criminal defense lawyers throughout this State,

Relator’s defense counsel propounded a discovery request to the State of Texas

pursuant to the Texas Code of Criminal Procedure article 39.14 (“Michael Morton”)

on March 1, 2018. (App.0010). The request was for video footage concerning the

traffic stop of Relator (Id.). In response to the discovery request, the State wholly

refused to allow electronic duplication of the media footage and required defense

counsel to schedule an appointment to view the subject footage in open court.

(App.0011). Defense Counsel responded that he was not available for any of the

allotted date/time slots and notwithstanding same, that Michael Morton requires the

State to comply with the timely request. (App.0012).




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       The State erroneously believes that it does not have to provide electronic

duplicates and expressed insincere concerns with introducing a media drive from an

“unknown source” into the City’s computers. (App.0018). To address the State’s

purported concern, Defense Counsel informed the State that he would provide a

brand-new, unopened DVD or flash drive. (App.0019). The State did not respond to

Defense Counsel’s proposed solutions for the State’s “concern”, but, instead,

continued to willfully obstruct Defense Counsel’s statutory right to electronic

duplication of his client’s video discovery files. The State advised it was the City of

Carrollton Attorney’s Office “policy” and it could not make exceptions. (App.0020).

The State welcomed defense counsel to file a motion to address the issues and one

was subsequently filed, with all e-mails attached showing Defense Counsel’s various

attempts at obtaining discovery. (App.0001-0026).

      During the hearing on the motion, the State misrepresented facts to the Court

to support its indefensible position. Namely, that the State lacks the technological

ability to download copies of their police dash-camera and body-camera videos to a

DVD or media drive (App.0030). The Court denied Defendant/Relator’s motion and

found that under 39.14, “electronic duplication” “could also mean a video made of

the video.” (App.0031). The Court further noted that there “is nothing preventing

Mr. Le Brocq from making his own recording of the video with a smart phone or

other video recording device and downloading that copy to a DVD or jump drive on



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his own.” (Id.). Because Michael Morton’s plain-language requires the State to

produce and permit the inspection and electronic duplication of the State’s

discovery, the Court wholly abused its discretion by denying Relator’s motion.

      Moreover, Respondent’s actions make it clear that the City Attorney’s Office

for the City of Carrollton will be allowed to continue to violate defendants’ rights

by not allowing defense counsels to obtain the electronic duplicates of discovery

they are entitled to. This affects potentially thousands of criminal defendants. A writ

of prohibition is proper to prevent Respondent from continuing to act with respect

to Relator’s cases and emergency relief is necessary to stay any imminent action by

Respondent.




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                             STATEMENT OF THE CASE

Nature of the case:              This is an original proceeding seeking writs of
                                 mandamus and prohibition prohibiting Respondent
                                 from allowing the State to continue to violate
                                 Michael Morton and requiring the Court to allow
                                 defense counsel to obtain electronic duplicates of
                                 the State’s discovery files.

Trial court:                     The City of Carrollton Municipal Court,
                                 Honorable Judge Meredith Lyon presiding.

Course of proceedings:           Relator filed his motion to compel discovery and for
                                 extraordinary relief on March 6, 2018 (App.001-
                                 0031). The State did not respond to the motion.
                                 Arguments were heard on the motion on March 15,
                                 2018. The Court wholly denied the motion.
                                 (App.0027). Defense counsel timely sent a request
                                 for findings of fact and conclusions of law to the
                                 Court on March 15, 2018 (App.0028) and the same
                                 were made on March 19, 2018. (App.0029-0031).

Trial court’s disposition:       The trial court wholly denied the motion and
                                 Relator’s cases are set for final pre-trial on May 11,
                                 2018 at 7:30am.




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                       STATEMENT OF JURISDICTION

      The Texas Court of Criminal Appeals has authority to issue writs of

mandamus in criminal-law matters under Tex. Const. Art. 5 § 5 and Tex. Code Crim.

Proc. Art. 4.04 § 1 (2018). The authority of this Court to issue writs of mandamus

extends to all criminal law matters and is not restricted solely to orders necessary to

protect this Court’s jurisdiction or to enforce its judgments. Durrough v. State, 620

S.W.2d 134, 144 (Tex. Crim. App. 1981).




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                              ISSUES PRESENTED

      1.     Can Respondent allow the City of Carrollton City Attorney’s Office

prosecutors representing the State of Texas to circumvent their discovery duties

under Michael Morton – which expressly requires the state to produce and permit

the inspection and electronic duplication of its files—by requiring defense attorneys

to use their own personal recording devices to make a new video of the state’s

videos, thereby obstructing access to the State’s electronic files?

      2.     Is “electronic duplication” under Michael Morton satisfied where

defense counsels are not permitted to obtain electronic duplicates of the videos in

possession and control by the State, thereby eliminating the opportunity to capture

the Metadata on the video files to determine authenticity?

      3.     If not, will writs of mandamus and prohibition issue to prohibit the court

from allowing prosecutors of the State of Texas to violate Michael Morton’s express

provisions pertaining to electronic duplicates of files and require the City of

Carrollton City Attorney’s Office to amend their policies regarding same?




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                           STATEMENT OF FACTS

      This original action arises from the actions of the City of Carrollton

prosecutors representing the State of Texas, in accordance with their longstanding

policy, denying Relator—and all other similarly situated defendants—the ability for

their defense counsels to obtain electronic duplicates of their video discovery files

in violation of the plain-language of Michael Morton, and Respondent’s denial of

Relator’s motion to compel the City of Carrollton prosecutors to adhere to article

39.14’s requirements. The relevant sequence of events is as follows:

      March 1, 2018       Relator’s attorneys propound a 39.14 discovery request to
                          the State requesting video footage for Relator’s cases
                          which resulted in 2 traffic citations. (App.0010).

      March 2, 2018       The State responded that it did not have to provide copy of
                          videos and provided dates and times for an in-court
                          inspection/photographing of the video. (App.0011).

      March 2, 2018       Defense counsel responded that his schedule did not
                          comport with the State’s proposed viewing dates/times
                          and that he was entitled to electronic duplicates under
                          Michael Morton. Defense counsel further offered to
                          provide a DVD or flash drive for the media. (App.0012).

      March 5, 2018       The State continued to object to the electronic duplication
                          request and expressed concerns with using a media device
                          from an “unknown source” to the city’s computer network.
                          (App.0018).

      March 5, 2018       Defense counsel explained his busy schedule to the State
                          and that if the State was so concerned about potential
                          intrusions from a media device provided by an officer of
                          the Court, that he would provide a brand-new, unopened
                          DVD or flash drive. (App.0019).

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      March 5, 2018      The State did not respond to the suggestion defense
                         counsel made about the State’s purported concerns about
                         computer network security. Instead, it apologized to
                         defense counsel and repeated that it is the policy of the
                         City Attorney’s Office. (App.0020).

      March 6, 2018      Defense counsel made a final attempt to avoid court
                         intervention, but same was futile and the State urged
                         defense counsel to file a motion in court. (App.0021).

      March 6, 2018      Defense counsel filed Defendant’s Motion to Compel
                         Discovery & For Extraordinary Relief on March 6, 2018.
                         (App.0001-0026).


      Defense Counsel for Relator argued at the hearing on the motion on March

15, 2018. Many of the same arguments repeated in his e-mails to the State and in his

very detailed motion were presented. The Court listened to the arguments and denied

the motion in its entirety. (App.0027). Relator immediately filed a request for

Findings of Fact and Conclusions of Law. (App.0028). The Court produced same on

March 19, 2018 (App.0029-31) and this Petition for Writ of Mandamus followed.




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                       SUMMARY OF THE ARGUMENT

      Writs of mandamus and prohibition are proper because Respondent has no

discretion to allow the State to violate their obligation under Texas Code of Criminal

Procedure Article 39.14 to allow Defense Counsel the ability to obtain electronic

duplicates of Relator’s video discovery files. Respondent’s suggestions that Defense

Counsel could use a smart phone to record a video of the State’s video—instead of

requiring the State to permit the statutorily required electronic duplicates of the

files—is contrary to law.




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                      ARGUMENT AND AUTHORITIES

      On May 16, 2013, Article 39.14 of the Texas Code of Criminal Procedure was

codified into law as the Michael Morton Act. It states in relevant part: “as soon as

practicable after receiving a timely request from the defendant the state shall

produce and permit the inspection and the electronic duplication, copying, and

photographing. . . [the discovery file] in the possession, custody, or control of the

state or any person under contract with the state.” (Emphasis added). Tex. Code

Crim. Proc. Ann. art. 39.14(a). (App.0032-0034).

      With this language, the legislature afforded zero discretion to a prosecutor in

complying with the mandates prescribed above. In fact, the law requires a prosecutor

to permit inspection and electronic duplication and copying and photographing.

Prior to the codification of Michael Morton, the conjunction “or” was used in place

of “and,” and electronic duplication was not a requirement of the State. (Tex. S.B.

1611, 83rd Leg., R.S. (2013)). However, in the City of Carrollton Municipal Court,

electronic duplication is not an available option to criminal defense lawyers. Rather,

it is the policy of the City of Carrollton Attorney’s Office, and Respondent, the

presiding judge over the Carrollton Municipal Court, that criminal defense lawyers

are only entitled to a viewing of the discovery in open court, where they are allowed

to bring a camcorder or smart phone to create their own video, but only after

scheduling an appointment. (App.0031).



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        “Duplicate” means “consisting of or existing in two corresponding or identical

parts    or    examples.”   Duplicate   Definition,   MERRIAM-WEBSTER.COM,

https://www.merriam-webster.com/dictionary/duplicate (last visited March 6,

2018). There is no statutory definition of “electronic duplicate”. When determining

the fair, objective meaning of an undefined statutory term, the Court may consult

dictionaries. Ramos v. State, 303 S.W. 3d 302, 306 (Tex. Crim. App. 2009).

        The Court did not consult with a dictionary; instead, it surmised as follows:

        “‘[E]lectronic duplication’, in the plain language meaning of the term could
        mean more than simply providing a physical copy of a video on a DVD or
        jump drive. ‘Electronic duplication’ could also mean a video made of a video.
        In other words, there is nothing preventing Mr. Le Brocq from making his
        own recording of the video with a smart phone or other video recording device
        and downloading that copy to a DVD or jump drive on his own.” (Emphasis
        added). (App. 0031).

        “A court construes a statute according to its plain meaning without

considering the extratextual factors unless the statutory language is ambiguous or

imposing the plain meaning would cause an abused result.” Boykin v. State, 818

S.W.2d 782, 785-86 (Tex. Crim. App. 1991). It is unclear why the Court chose to

deviate from the well-established textbook definition of duplication and invent its

own definitions. There is nothing ambiguous or confusing about the word

“duplicate.”

        Contrary to the court’s unsupported conclusion, making a video of a video is

not the same thing as duplicating the video. A video is “a digital recording of an



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image or set of images”. Video Definition, MERRIAM-WEBSTER.COM,

https://www.merriam-webster.com/dictionary/video (last visited April 21, 2018). If

Defense Counsel used his “smart phone”—as Respondent suggests—an entirely new

video would be created. In fact, Defense Counsel’s video would be a video of the

courtroom’s computer monitor or projector playing a video.1 Whereas a duplicate—

as contemplated under Michael Morton—would be a replica of the video file

downloaded from the officers’ vehicles or body cameras— would be entirely

different files with different images within the video, different Metadata, etc....

         The original video source files maintained by the State—the files in which

Defense Counsel is entitled to electronically duplicate—contain Metadata.

Metadata, “colloquially known as ‘data about data’, encompasses the structural

information of a file that contains data about it as opposed to describing its actual

substantive content. Often hidden and embedded within the original file, metadata

does not normally appear on a printed page.” U.S. ex rel. Carter v. Bridgepoint

Educ., Inc., 305 F.R.D. 225, 228 (S.D. Cal. 2015); see also Aguilar v. Immigration

& Customs Enf’t Div. of U.S. Dep’t of Homeland Sec., 255 F.R.D. 350, 354-55

(S.D.N.Y. 2008).




In the City of Carrollton Municipal Court, defense attorneys – on their appointment day—must wait until the docket
1



concludes, whereupon, the prosecutor will play the requested videos on the court’s projector. While the video is
playing, criminal defense attorneys must hold their smart phone, such as an iPhone, or other recording device to the
court’s projector. The Court is still open to the public at this time and attorneys and court staff walk in-and-out of the
courtroom. The videos range from minutes to hours in length. The date/time slots for this inspection are limited.


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      Accordingly, obtaining electronic duplicates of the video files, rather than

making a completely new, different video, is important because, with regard to the

former, Defense Counsel would be able to forensically examine the video file for

matters such as authenticity, should it be in question. The latter suggested by the

State and Respondent prevents Defense Counsel from ascertaining critical details,

such as when the video source file was created, when it was downloaded from the

officers’ recording devices, when it was uploaded to the State’s computer systems,

and if the files were altered, by whom and when.

      There is a treasure trove of data on the video files in the State’s possession

that Defense Counsel is entitled to receive. Recording a video using an iPhone would

have entirely different Metadata. The Metadata would include when the defense

lawyer created the video on their cell phone. Information captured by WatchGuard

(the software controlling the officer’s recording devices) would also be lost.

Information such as the location of the vehicle, speed of the vehicle, whether lights

and sirens are active, etc… would not be captured by making a new recording. This

data embedded with the video would remain within the sole custody of the State.

      As Respondent states in her Findings of Fact and Conclusions of Law,

“[Defense counsel] has offered to provide a new DVD or new jump drive in order

to obtain a copy of the video.” (App.0029). At that point, it was the on the onus of

the State to permit Defense Counsel the ability to obtain the electronic duplicates



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requested. However, Respondent found that because Defense Counsel did not

accommodate the State’s viewing schedule, that the State did not violate Michael

Morton, stating in relevant part:

      “The State made multiple suggestions of available dates on which [Defense
      counsel] could appear to view the video that exists in these cases. [Defense
      counsel] seemed to summarily dismiss each of the State’s suggested dates,
      instead demanding a physical copy of the video either in DVD or jump drive
      format. [Defense counsel] did not appear to provide any “counteroffer” of
      dates/times that might be more amenable to him to appear and view the
      video in the presence of the State. (emphasis added). (App.0030).

Defense counsel made it clear to the State and to Respondent that he requested

electronic duplicates of the videos; he did not want to—nor is he required to – set a

“viewing schedule” with the State to inspect the video data files.

      Defense Counsel should not, and does not, have to make a “counteroffer” of

when he can “appear and view the video in the presence of the State” because he is

not requesting to inspect evidence. Furthermore, requiring defense attorneys to

review evidence in the courtroom in the presence of the prosecution could cause

defense attorneys to reveal possible trial strategy, and prevents them from being able

to review the evidence with their clients. A defendant should not be required to sit

in a courtroom with his attorney and explain why he feels the evidence exculpates

him in the presence of the State. A defendant, although not entitled to copies of the

discovery, is entitled to review it with his attorney in private.




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      It is worth noting that Defense Counsel told the State that he was not available

on the requested dates and times as he has hundreds of cases in multiple states.

(App.0019). Defense counsel did however inform the State that he would drop-off a

media device. (App.0012).

      Moreover, Michael Morton distinguishes the availability of “electronic

duplicates”. The provision of Article 39.14 applicable to defense attorneys is

subsection (a). The policies, procedures, and ruling from Respondent are in

conformity with subsection (d) of Article 39.14—applicable to pro se defendants—

which states in relevant part:

      “In the case of a pro se defendant, if the court orders the state to produce and
      permit the inspection of a document, item, or information under this
      subsection, the state shall permit the pro se defendant to inspect and
      review the document, item, or information but is not required to allow
      electronic duplication as described by Subsection (a). (emphasis added).
      (App.0032).

The fact that subsection (d) specifically references subsection (a) is telling. The State

is not required to allow pro se defendants electronic duplication. Rather, the State is

only required to allow inspection and review of the evidence. By not permitting

electronic duplication, Respondent is allowing the State to treat criminal defense

attorneys the same as they are allowed to treat pro se defendants regarding discovery

protocol.

      The State’s position that the City of Carrollton City Attorney’s Office does

not have the technical capabilities to copy videos from WatchGuard on their

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computers strains credulity. Assuming this were true, it would be impossible for any

individual or entity to subpoena body or dash-cameras from the Carrollton Police

Department. It would be impossible for Denton, Dallas, and Collin County District

Attorney Offices to provide copies of videos they receive from the Carrollton Police

Department. Defense counsel practices criminal defense in Dallas, Denton, and

Collin counties, almost exclusively with cases from the Carrollton Police

Department. Never has Defense counsel had an issue with receiving the video

discovery from the State in Class A and Class B misdemeanors, up to first-degree

felonies—only with Class C Misdemeanors in Carrollton Municipal Court. Lastly,

it would be impossible to appeal any case from the City of Carrollton Municipal

Court containing video evidence from a Carrollton Police officer because, according

to the State, the City of Carrollton Municipal Court Clerk’s office would have no

way of transmitting said video evidence to the reviewing court because, apparently,

they lack the technological capability of doing so. (App.0030).

      I. Mandamus is Appropriate Because Respondent Erred in Denying
         Relator’s Motion, thereby Allowing the City of Carrollton City
         Attorney’s Office to Violate Article 39.14 of the Texas Code of
         Criminal Procedure’s Electronic Duplication of Discovery Mandate.

      A. Mandamus Relief is Appropriate

      It is well settled that mandamus relief is appropriate if it is shown that the act

sought to be compelled by the writ is purely ministerial and there is no adequate

remedy at law. In re McCann, 422 S.W.3d 701, 704 (Tex.Crim.App.2013) (internal

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citations omitted). “The ministerial act requirement is satisfied if the relator can

show a clear right to the relief sought because the facts and circumstances dictate

but one rational decision under unequivocal, well-settled, and clearly controlling

legal principles.” In re Medina, 475 S.W.3d 291, 298 (Tex. Crim. App. 2015) (citing

In re Bonilla, 424 S.W.3d 528, 533 (Tex. Crim. App. 2014). “In some cases, a

remedy at law may technically exist; however, it may nevertheless be so uncertain,

tedious, burdensome, slow, inconvenient, inappropriate or ineffective as to be

deemed inadequate.” Smith v. Flack, 728 S.W.2d 784, 792 (Tex. Crim. App. 1987).

      As fully set forth above, Michael Morton makes the duty of prosecutors to

permit the electronic duplication of discovery evidence, one that is ministerial in

nature. When the State failed to comply, Relator sought relief with Respondent

whom allowed, and continues to allow, the State to violate its ministerial duties.

Relator and all others similarly situated are being denied their discovery rights on a

daily basis because they cannot obtain electronic duplicates of the State’s video files.

      B. Relator Has No Adequate Remedy at Law and Any Remedy that Exists
         by Direct Appeal is Inadequate.

      Relator is unable to obtain the electronic duplicates of the discovery in his

case. Absent intervention by mandamus and prohibition, the Respondent will

continue to unlawfully permit the State of Texas, through the City of Carrollton City

Attorney’s Office, to obstruct and prevent Relator and all other defendants electronic

duplicates of the State’s discovery file. Thus, Relator has no adequate legal remedy.

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      Relator cannot effectively avail himself of any other remedy. While a direct

appeal or separate proceeding may be an alternative remedy, it is not adequate. This

Court has recognized that “[i]n some cases, a remedy at law may technically exist;

however, it may nevertheless be so uncertain, tedious, burdensome, slow,

inconvenient, inappropriate, or ineffective as to be deemed inadequate.” Smith, 728

S.W.2d at 792 (Tex. Crim. App. 1987). Under the circumstances of this case,

delaying correction of Respondent’s error until direct appeal “would be too

burdensome and would only aggravate the harm and most likely result in a new trial

compelling relator to again endure a trip through the system.” Stearns v. Clinton,

780 S.W.2d 216, 225 (Tex. Crim. App. 1989).

      Relator should not be required to prepare for and endure a trial without

electronic duplicates of the State’s discovery file only to challenge the error by direct

appeal, and then endure another trial with the proper discovery that should have been

tendered in the first instance.

          C. A Writ of Prohibition is Also Appropriate Because Respondent Has
             No Discretion to Allow the State to Violate Its Discovery Duties.

      A writ of prohibition is appropriate to prevent future actions of Respondent in

this case. “A writ of prohibition must meet the same standards of mandamus, the

former being used to ‘prevent the commission of a future act whereas the latter

operates to undo or nullify an act already performed. . . .” Medina, 475 S.W.3d at

297 (citing State ex rel. Wade v. Mays, 689, S.W.2d 893, 897 (Tex. Crim. App.

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1985)); See also In re Amos, 397 S.W.3d 309, 312 (Tex. Civ. App. – Dallas 2013,

no writ). There is no question that Respondent intends to continue to allow the State

to violate their discovery obligations. Respondent’s actions not only affect Relator

but affect every single defendant with a case pending in the City of Carrollton

Municipal Court. As the City of Carrollton Attorney’s Office has made it clear that

not allowing electronic duplicates of discovery is the State’s “policy,” Relator and

his counsel sought extraordinary action in requesting the trial court to order the City

Attorney to change their unlawful policy.

        For the reasons articulated in the foregoing application for a writ of

mandamus, Respondent had no discretion to countenance the State’s unlawful

conduct in obstructing Relator’s right to obtain electronic duplicates of his discovery

files. Because Relator has no adequate remedy at law, a writ of prohibition should

also issue.

          D. Emergency Relief is Necessary to Prevent Respondent from Denying
             Defense Counsel in the City of Carrollton Municipal Court from
             Obtaining Electronic Duplicates of Their Clients’ Discovery Files that
             They Are Expressly Permitted To Obtain Under Michael Morton.

      Respondent has continuously allowed the State to proceed in its unlawful

obstruction of evidence to defense counsels in the City of Carrollton Municipal

Court and allows the City of Carrollton Attorney’s Office to maintain a discovery

policy that violates the plain-language of Michael Morton. Relator requests this

Court to issue an immediate stay of any action in Case Numbers 00475441 and

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00475442, until further Order of this Court and any ruling on Relator’s Petition for

Writ of Mandamus and for Writ of Prohibition.


                                      PRAYER

      In addition to the emergency stay requested immediately above, Gonzalo

Robles Cesna, Relator, prays that this Court issue a writ of mandamus to order the

Respondent to grant Defendant’s Motion to Compel Discovery & For Extraordinary

Relief, including, ordering the City of Carrollton Attorney’s Office to amend their

unlawful discovery policies. Relator further prays for a writ of prohibition to prevent

Respondent from further denying any future access of defense counsel to electronic

duplicates of their clients’ case files. Relator also prays for such other and further

relief at law or in equity to which Relator may be entitled.

                                               Respectfully submitted,

                                               LE BROCQ LAW FIRM PLLC

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                                               F: (866) 820-6005
                                               E: stephen@lebrocqlawgroup.com




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                          CERTIFICATE OF SERVICE

I, the undersigned attorney, certify that on April 23, 2018, a copy of this document
and all attachments thereto, were served upon:

Respondent: The Honorable Judge Meredith Lyon, Presiding Judge of Carrollton
Municipal Court, 2001 E. Jackson Road, Carrollton, Texas 75006 via first class mail
and to: legaldocuments@cityofcarrollton.com via Texas E-Service.

Real Party in Interest: City of Carrollton, City Attorney, Meredith Ladd, 2001 E.
Jackson Road, Carrollton, Texas 75006 via first class mail and via e-mail to:
Meredith.Ladd@cityofcarrollton.com via Texas E-Service.

Mary Scanlon, Assistant City Attorney for the City of Carrollton, e-mail to:
Mary.Scanlon@cityofcarrollton.com via Texas E-Service.

Susan Keller, Assistant City Attorney for the City of Carrollton, e-mail to:
Susan.Keller@cityofcarrollton.com via Texas E-Service.

                                                     /s/ Stephen Le Brocq
                                                     Stephen Le Brocq



  CERTIFICATE OF COMPLIANCE WITH TEX. RULE APP. PROC 9.4

       I certify that this document complies with (1): the type-volume limitations
because it is computer-generated and does not exceed 4,500 words. Using the word
count feature of Microsoft Word, this document contains 3,781 words except in the
following sections: caption, identify of parties and counsel, table of contents, index
of authorities, statement of the case and jurisdiction, statement of issues presented,
signature, certificate of service, certificate of compliance, and appendix; and (2) the
typeface requirements because it has been prepared in a proportionally-spaced
typeface using Microsoft Word in 14-point font. See Tex. Rule App. Proc.
9.4(i)(2)(D) (2018).


                                               /s/ Stephen Le Brocq
                                               Stephen Le Brocq



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                        RULE 52.3(j) CERTIFICATION

      I have reviewed the petition and the appendix. I conclude that every factual
statement in the petition is supported by competent evidence included in the
appendix. See Tex. Rule App. Proc. 52.3(j)(2018).

                                             /s/ Stephen Le Brocq
                                             Stephen Le Brocq




                       RULE 52.10(a) CERTIFICATION

       I hereby certify that I have complied with TRAP 52.10(a) by notifying all
parties via electronic mail that a request for emergency relief has been filed to or
contemporaneous with the filing of this Petition.

                                             /s/ Stephen Le Brocq
                                             Stephen Le Brocq




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                           Appendix
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   APP. 004
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                                  Tex. Code Crim. Proc. Art. 39.14
            This document is current through the 2017 Regular Session and 1st C.S., 85th Legislature

Texas Statutes & Codes Annotated by LexisNexis® > Code of Criminal Procedure > Title 1
Code of Criminal Procedure of 1965 > Trial and Its Incidents > Chapter 39 Depositions and
Discovery



Art. 39.14. Discovery.

   (a) Subject to the restrictions provided by Section 264.408, Family Code, and Article 39.15 of this code, as soon
        as practicable after receiving a timely request from the defendant the state shall produce and permit the
        inspection and the electronic duplication, copying, and photographing, by or on behalf of the defendant, of
        any offense reports, any designated documents, papers, written or recorded statements of the defendant
        or a witness, including witness statements of law enforcement officers but not including the work product of
        counsel for the state in the case and their investigators and their notes or report, or any designated books,
        accounts, letters, photographs, or objects or other tangible things not otherwise privileged that constitute or
        contain evidence material to any matter involved in the action and that are in the possession, custody, or
        control of the state or any person under contract with the state. The state may provide to the defendant
        electronic duplicates of any documents or other information described by this article. The rights granted to
        the defendant under this article do not extend to written communications between the state and an agent,
        representative, or employee of the state. This article does not authorize the removal of the documents,
        items, or information from the possession of the state, and any inspection shall be in the presence of a
        representative of the state.
   (b) On a party’s request made not later than the 30th day before the date that jury selection in the trial is
       scheduled to begin or, in a trial without a jury, the presentation of evidence is scheduled to begin, the party
       receiving the request shall disclose to the requesting party the name and address of each person the
       disclosing party may use at trial to present evidence under Rules 702, 703, and 705, Texas Rules of
       Evidence.Except as otherwise provided by this subsection, the disclosure must be made in writing in hard
       copy form or by electronic means not later than the 20th day before the date that jury selection in the trial is
       scheduled to begin or, in a trial without a jury, the presentation of evidence is scheduled to begin. On
       motion of a party and on notice to the other parties, the court may order an earlier time at which one or
       more of the other parties must make the disclosure to the requesting party.
   (c) If only a portion of the applicable document, item, or information is subject to discovery under this article, the
         state is not required to produce or permit the inspection of the remaining portion that is not subject to
         discovery and may withhold or redact that portion. The state shall inform the defendant that a portion of the
         document, item, or information has been withheld or redacted. On request of the defendant, the court shall
         conduct a hearing to determine whether withholding or redaction is justified under this article or other law.
   (d) In the case of a pro se defendant, if the court orders the state to produce and permit the inspection of a
        document, item, or information under this subsection, the state shall permit the pro se defendant to inspect
        and review the document, item, or information but is not required to allow electronic duplication as
        described by Subsection (a).
   (e) Except as provided by Subsection (f), the defendant, the attorney representing the defendant, or an
       investigator, expert, consulting legal counsel, or other agent of the attorney representing the defendant


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                                          Tex. Code Crim. Proc. Art. 39.14

       may not disclose to a third party any documents, evidence, materials, or witness statements received from
       the state under this article unless:
       (1) a court orders the disclosure upon a showing of good cause after notice and hearing after considering
            the security and privacy interests of any victim or witness; or
       (2) the documents, evidence, materials, or witness statements have already been publicly disclosed.
   (f) The attorney representing the defendant, or an investigator, expert, consulting legal counsel, or agent for the
        attorney representing the defendant, may allow a defendant, witness, or prospective witness to view the
        information provided under this article, but may not allow that person to have copies of the information
        provided, other than a copy of the witness’s own statement. Before allowing that person to view a
        document or the witness statement of another under this subsection, the person possessing the
        information shall redact the address, telephone number, driver’s license number, social security number,
        date of birth, and any bank account or other identifying numbers contained in the document or witness
        statement. For purposes of this article, the defendant may not be the agent for the attorney representing
        the defendant.
   (g) Nothing in this article shall be interpreted to limit an attorney’s ability to communicate regarding his or her
        case within the Texas Disciplinary Rules of Professional Conduct, except for the communication of
        information identifying any victim or witness, including name, except as provided in Subsections (e) and (f),
        address, telephone number, driver’s license number, social security number, date of birth, and bank
        account information or any information that by reference would make it possible to identify a victim or a
        witness. Nothing in this subsection shall prohibit the disclosure of identifying information to an
        administrative, law enforcement, regulatory, or licensing agency for the purposes of making a good faith
        complaint.
   (h) Notwithstanding any other provision of this article, the state shall disclose to the defendant any exculpatory,
        impeachment, or mitigating document, item, or information in the possession, custody, or control of the
        state that tends to negate the guilt of the defendant or would tend to reduce the punishment for the offense
        charged.
   (h-1)In this subsection, “correctional facility” has the meaning assigned by Section 1.07, Penal Code.
        Notwithstanding any other provision of this article, if the state intends to use at a defendant’s trial testimony
        of a person to whom the defendant made a statement against the defendant’s interest while the person
        was imprisoned or confined in the same correctional facility as the defendant, the state shall disclose to the
        defendant any information in the possession, custody, or control of the state that is relevant to the person’s
        credibility, including:
       (1) the person’s complete criminal history, including any charges that were dismissed or reduced as part of
            a plea bargain;
       (2) any grant, promise, or offer of immunity from prosecution, reduction of sentence, or other leniency or
            special treatment, given by the state in exchange for the person’s testimony; and
       (3) information concerning other criminal cases in which the person has testified, or offered to testify,
            against a defendant with whom the person was imprisoned or confined, including any grant, promise,
            or offer as described by Subdivision (2) given by the state in exchange for the testimony.
   (i) The state shall electronically record or otherwise document any document, item, or other information
        provided to the defendant under this article.
   (j) Before accepting a plea of guilty or nolo contendere, or before trial, each party shall acknowledge in writing
        or on the record in open court the disclosure, receipt, and list of all documents, items, and information
        provided to the defendant under this article.
   (k) If at any time before, during, or after trial the state discovers any additional document, item, or information
         required to be disclosed under Subsection (h), the state shall promptly disclose the existence of the
         document, item, or information to the defendant or the court.


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                                                  Tex. Code Crim. Proc. Art. 39.14

     (l) A court may order the defendant to pay costs related to discovery under this article, provided that costs may
          not exceed the charges prescribed by Subchapter F, Chapter 552, Government Code.
     (m) To the extent of any conflict, this article prevails over Chapter 552, Government Code.
     (n) This article does not prohibit the parties from agreeing to discovery and documentation requirements equal
          to or greater than those required under this article.

History


Enacted by Acts 1965, 59th Leg., ch. 722 (S.B. 107), § 1, effective January 1, 1966; am. Acts 1999, 76th Leg., ch.
578 (S.B. 557), § 1, effective September 1, 1999; am. Acts 2005, 79th Leg., ch. 1019 (H.B. 969), § 1, effective
June 18, 2005; am. Acts 2009, 81st Leg., ch. 276 (S.B. 595), § 2, effective September 1, 2009; am. Acts 2013,
83rd Leg., ch. 49 (S.B. 1611), § 2, effective January 1, 2014; am. Acts 2015, 84th Leg., ch. 459 (H.B. 510), § 1,
effective September 1, 2015; am. Acts 2015, 84th Leg., ch. 1236 (S.B. 1296), § 4.001, effective September 1, 2015;
am. Acts 2017, 85th Leg., ch. 686 (H.B. 34), § 7, effective September 1, 2017.


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